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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                           BECKLEY DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                   CRIMINAL ACTION NO. 5:98-cr-00135-04

GREGORY TODD POOLE,

                              Defendant.



           REVOCATION OF SUPERVISED RELEASE AND JUDGMENT ORDER

       On March 30, 2009, the Defendant, Gregory Todd Poole, appeared in person and by counsel, S.

Mason Preston, for a hearing on the Petition for Warrant or Summons for Offender Under Supervision

submitted by the Defendant’s supervising probation officer. The United States was represented at the

hearing by John L. File, AUSA. United States Probation Officer Douglas W. Smith was also present at

the hearing.

       On January 11, 1999, the Defendant was sentenced to a term of imprisonment of 120 months to

be followed by a 3-year term of supervised release. The Defendant began serving the term of supervised

release on May 2, 2007. On February 19, 2009, the Petition for Warrant or Summons for Offender Under

Supervision [Docket 206] was filed charging the Defendant with violating certain conditions of supervised

release.

       At the hearing, the Court found that the Defendant had received written notice of the alleged

violations as contained in the Petition, and that the evidence against the Defendant had been disclosed.

The Court further found that the Defendant appeared, was given the opportunity to present evidence, and

was represented in the proceeding by counsel.
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       The Court then found, by a preponderance of the evidence, that the Defendant violated certain

conditions of supervised release as contained in the Petition, specifically:

       1)      Violation of Standard Condition: The defendant shall not commit another federal,
               state or local crime: On January 2, 2009, [the defendant] was arrested by members of the
               Greenbrier County Sheriff’s Department and charged in Greenbrier County Magistrate
               Court with driving under the influence and speeding. The [defendant] admitted to [his]
               probation officer that he consumed beer and cognac prior to operating the motor vehicle
               and being arrested. On January 20, 2009, [the defendant] was arrested by members of the
               Greenbrier County Sheriff’s Department and charged in Greenbrier County Magistrate
               Court with driving under the influence. The [defendant] admitted to [his] probation officer
               that he had consumed whiskey prior to operating the motor vehicle and being arrested[;]


       2)      Violation of Standard Condition Number 9: The defendant shall not associate with
               any persons engaged in criminal activity, and shall not associate with any person
               convicted of a felony unless granted permission by the probation officer: On January
               22, 2008, [the defendant] admitted to [his] probation officer that he was associating with
               Derek Freeman, who is a convicted felon and co-defendant in this case (5:98-CR-00135-
               004). The [defendant] admitted that he did meet with Mr. Freeman at a hotel just prior to
               the arrest for driving under the influence on January 20, 2008[; and]

       3)      Violation of Standard Condition Number 14: The defendant shall not purchase,
               possess, use, distribute, or administer any narcotic or other controlled substance or
               any paraphernalia related to such substances, except as prescribed by a physician:
               On March 3, 2008, [the defendant] was confronted regarding the results of three separate
               urine screens that had tested invalid. At that time the [defendant] denied intentionally
               diluting his urine, but did admit that he had used marijuana in the previous month. A urine
               specimen provided by the [defendant] on November 21, 2008 tested positive for marijuana.
               On that same date, [the defendant] was confronted with the positive urine screen result,
               denied using marijuana, and reported he was in a vehicle with someone who was smoking
               marijuana.

In making these findings, the Court relied upon the information contained in the Petition and the

Defendant’s statement that he does not dispute the violation contained therein.

       Having found the Defendant to be in violation of the conditions of supervised release, the Court

REVOKED the Defendant’s supervised release and entered judgment as follows:

       It is the JUDGMENT of the Court that the Defendant be committed to the custody of the Federal

Bureau of Prisons for a term of 7 MONTHS. The Defendant shall be given credit for time served as


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appropriately calculated by the Bureau of Prisons. Upon release from prison, the Defendant shall be

placed on supervised release for a term of 48 MONTHS. Within 72 hours of release from custody, the

Defendant shall report in person to the United States Probation Office in the district to which the

Defendant is released. While on supervised release, the Defendant must not commit another federal, state,

or local crime, must not possess a firearm or other dangerous device, and must not unlawfully possess a

controlled substance. The Defendant must also comply with the standard terms and conditions of

supervised release as recommended by the United States Sentencing Commission and as adopted by the

United States District Court for the Southern District of West Virginia, including the special condition that

the Defendant shall participate in a program of testing, counseling, and treatment for drug and alcohol

abuse as directed by the probation officer, until such time as the Defendant is released from the program

by the probation officer.

       The Defendant was remanded to the custody of the United States Marshal.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel, the

United States Attorney, the United States Probation Office, and the United States Marshal.

                                               ENTER:          April 9, 2009




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